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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA


FRISARD’S TRANSPORTATION L.L.C., ET
AL.,

         Plaintiffs,                             No. 2:24-cv-00347
v.
                                                 Judge Eldon E. Fallon
UNITED STATES DEPARTMENT OF LABOR,
ET AL..,



         Defendants.


                                 NOTICE OF APPEAL

     Plaintiffs   Frisard’s   Transportation,   L.L.C.,    Louisiana    Motor   Transport

Association, Incorporated, A & B Group, Inc., Northlake Moving And Storage, Inc.,

and Triple G. Express, Inc., by and through their undersigned counsel, hereby

respectfully appeal to the United States Court of Appeals for the Fifth Circuit from

the order denying Plaintiffs’ Motions for Preliminary Injunction and Temporary

Restraining order (Docket Nos. 14, 15) entered on March 8, 2024 (Docket No. 19).


Dated: April 8, 2024
                                                 Respectfully Submitted,


                                                 By:      /s/ James Baehr


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                                           Sarah Harbison (LSBA 31948)
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                              Certificate of Service

   I certify that the foregoing Plaintiff’s Notice of Appeal was filed April 8, 2024,

using the Court’s CM/ECF system, which will provide notice of the filing to all

counsel.

                                                    /s/ James Baehr
                                                    James Baehr




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